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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

         v.                                             Case No. 1:21-cr-00582
 MICHAEL A. SUSSMANN,

                Defendant.


                          DEFENDANT’S PRELIMINARY
                 OBJECTIONS TO SPECIAL COUNSEL’S EXHIBIT LIST

       Defendant Michael A. Sussmann, by and through his counsel, hereby provides his

preliminary objections to the Special Counsel’s exhibit list, attached hereto as Exhibit A.

       The defense has reviewed the Special Counsel’s proposed exhibits in good faith and raised

objections to the extent possible. However, without the benefit of context and without knowing

the purpose for which the Special Counsel intends to introduce its proposed exhibits, Mr.

Sussmann cannot identify all possible objections he may have. For example, in many cases, it is

impossible from the face of a document to determine whether the Special Counsel intends to offer

it for the truth of statements in the document, or whether the document may be admissible for a

non-hearsay purpose or fit within a hearsay exception. Mr. Sussmann accordingly reserves his

right to object to any exhibit offered by the Special Counsel at trial. This includes the right to

object to any hearsay statement that the Special Counsel offers for the truth of the matter asserted.

       Similarly, without knowing how the Special Counsel plans to use or seek admission of the

exhibits, Mr. Sussmann cannot anticipate at this time deficiencies in foundation for admission of

any of the exhibits. Should the Special Counsel fail to lay a proper foundation at trial for admission
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of any exhibit, Mr. Sussmann reserves the right to object. As to all of the Special Counsel’s

exhibits, Mr. Sussmann reserves all rights and waives none.

Dated: May 5, 2022                             Respectfully submitted,

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